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1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                           12                         UNITED STATES DISTRICT COURT
      LAS VEGAS, NEVADA 89135
                                       (702) 471-7000 FAX (702) 471-7070
        BALLARD SPAHR LLP




                                                                           13                                DISTRICT OF NEVADA

                                                                           14    SMITH & WESSON BRANDS, INC.,
                                                                                 SMITH & WESSON INC.                      CASE NO.: 2:22-cv-01773-JCM-EJY
                                                                           15
                                                                                  Plaintiffs,
                                                                           16                                             STIPULATION OF DISMISSAL AND
                                                                                 vs.                                      ORDER
                                                                           17
                                                                                 SW NORTH AMERICA, INC.,
                                                                           18
                                                                                  Defendant.
                                                                           19

                                                                           20

                                                                           21          Pursuant to the Settlement Agreement entered into by and among the Parties

                                                                           22 to this Action, and pursuant to Federal Rule of Civil Procedure 41(a), the Parties

                                                                           23 hereby stipulate that Plaintiffs’ claims against SW North America, Inc. are hereby

                                                                           24 dismissed with prejudice and SW North America, Inc.’s counterclaim against

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                                                                           1 Plaintiffs is likewise dismissed with prejudice. All Parties are to bear their respective

                                                                           2 attorneys’ fees and costs.

                                                                           3

                                                                           4     /s/ Abran Vigil                          /s/ Joel Schwarz
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                                                                           9     Philadelphia, PA 19103                   Attorney for Defendant

                                                                           10    Attorneys for Plaintiffs
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1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                      IT IS SO ORDERED.
                                                                           12
      LAS VEGAS, NEVADA 89135
                                       (702) 471-7000 FAX (702) 471-7070
        BALLARD SPAHR LLP




                                                                           13                                         ___________________________
                                                                                                                      United States District Judge
                                                                           14                                         Dated: ____________________
                                                                                                                             November 21, 2024
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